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   6
       Attorneys for Defendants
   7   HARVEST KING TRADING USA, LIMITED,
       THOMAS JAU and PAK LAM
   8

   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11

  12   COASTAL CORPORATION LTD.                  Case No. 2:22-CV-02687-DEF-JEM
  13                Plaintiff,            NOTICE OF MOTION AND
              v.                          MOTION TO WITHDRAWAL AS
  14                                      COUNSEL OF RECORD FOR
       HARVEST KING TRADING USA,          DEFENDANTS HARVEST KING
  15   LIMITED, a California corporation, TRADING USA, LIMITED,
       THOMAS JAU, an individual aka TOM THOMAS JAU AND PAK LAM
  16   JAU; LAM, an individual; PAK LAM,
       an individual; DOES 1 through 10,  Date: February 27, 2023
  17   inclusive,                         Time: 1:30 p.m.
                                          Ctrm: 7D
  18                 Defendants.
                                          Complaint filed: April 22, 2022
  19                                      Trial Date:      June 20, 2023
  20   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  21         PLEASE TAKE NOTICE on February 27, 2023, at 1:30 p.m., or as soon
  22   thereafter as the matter may be heard in Courtroom 7D located at 350 W. First
  23   Street, Los Angeles, California, Lawrence C. Ecoff, Esq., Alberto J. Campain, Esq.,
  24   and the law firm of Ecoff Campain Tilles & Kay, LLP (collectively “Ecoff Firm”),
  25   move the Court for an order granting leave to withdraw as counsel of record for
  26   defendants Harvest King Trading USA Limited, Thomas Jau and Pak Lam
  27   (collectively “Defendants”).
  28         Good cause exists pursuant to Local Rule 83-2.3.2 and California Rules of
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   1   Professional Responsibility 1.16(b)(5) for the Court to grant this motion because
   2   Defendants have breached the terms of their agreement and the Attorney Fee
   3   Agreement with counsel. Further, withdrawal of the Ecoff Firm does not prejudice
   4   the Defendants or other litigants, and it does not harm the administration of justice.
   5         In compliance with Local Rule 83-2.3.4, the Ecoff Firm, provided Defendants
   6   with written notice of the firm’s intent to withdraw as counsel and provided
   7   Defendants with notice of the entity Defendants inability to appear pro se. The
   8   Ecoff Firm provided notice to all litigants in this action of its intent to move to
   9   withdraw as counsel for Defendants.
  10         This motion is made pursuant to this Notice, the attached Memorandum of
  11   Points and Authorities, the accompanying Declaration of Lawrence C. Ecoff, and
  12   such further evidence as the Court may permit at the hearing of this matter, should
  13   the Court find a hearing necessary.
  14

  15   Dated: January 20, 2023                     ECOFF CAMPAIN TILLES & KAY, LLP
  16

  17                                         By:         /s/ Lawrence C. Ecoff
                                                   LAWRENCE C. ECOFF, ESQ.
  18
                                                   Attorneys for Defendants
  19                                               HARVEST KING TRADING USA,
                                                   LIMITED, THOMAS JAU and
  20                                               PAK LAM
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    STATEMENT OF FACTS
   3         The Ecoff Firm was retained by Defendants pursuant to a written Attorney
   4   Fee Agreement to represent Defendants. (Ecoff Decl., ¶ 3). The Attorney Fee
   5   Agreement requires the Ecoff Firm to transmit monthly statements and Defendants
   6   to make payments within 30 days of issuance of the monthly statements. Id.
   7         The Ecoff Firm issued monthly billing statements to Defendants as required
   8   by the Attorney Fee Agreement. (Ecoff Decl., ¶ 4). Defendants breached their
   9   obligations under the Attorney Fee Agreement by failing to make the payment
  10   within 30 days of issuance of the monthly statements. Id. The Ecoff Firm advised
  11   Defendants that unless they complied with their obligations under the Attorney Fee
  12   Agreement, the Ecoff Firm would move to withdraw as counsel. (Ecoff Decl., ¶ 5).
  13   Despite such request, Defendants did not comply, necessitating the filing of this
  14   motion.
  15   II.   LEGAL STANDARD
  16         Under the Local Rules of this Court, “[a]n attorney may not withdraw as
  17   counsel except by leave of court,” and “[a] motion for leave to withdraw must be
  18   made upon written notice given reasonably in advance to the client and to all other
  19   parties who have appeared in the action.” C.D. Cal. L.R. 83-2.3.2. The motion “must
  20   be supported by good cause.” Id.
  21         In deciding a motion to withdraw, district courts generally consider: “(1) the
  22   reasons why withdrawal is sought; (2) the prejudice withdrawal may cause to other
  23   litigants; (3) the harm withdrawal might cause to the administration of justice; and,
  24   (4) the degree to which withdrawal will delay the resolution of the case.” Stewart v.
  25   Boeing Co., No. CV 12-05621 RSWL (AGRx), 2013 WL 3168269, at *1 (C.D. Cal.
  26   June 19, 2013) (quoting Beard v. Shuttermart of CA., Inc., No. 07CV594WQH
  27   (NLS), 2008 WL 410694, at *2 (S.D. Cal. Feb. 13, 2008)) (internal quotation marks
  28   omitted).
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   1          In assessing the reasons for withdrawal, the Court looks to the California
   2   Rules of Professional Conduct. Stewart v. Boeing Co., No. CV 12-05621 RSWL,
   3   2013 WL 3168269, at *1 (C.D. Cal. June 19, 2013) (“Federal courts also often look
   4   to applicable state rules in determining whether adequate grounds exist to excuse
   5   counsel from further representation.”); U.A. Local 342 Joint Labor-Mgmt. Comm. v.
   6   S. City Refrigeration, Inc., No. C-09-3219 JCS, 2010 WL 1293522, at *3 (N.D. Cal.
   7   Mar. 31, 2010) (“In this district, courts look to the standards of professional conduct
   8   required of members of the State Bar of California in determining whether counsel
   9   may withdraw representation.”).
  10          Good cause for withdrawal as counsel is present here pursuant to California
  11   Rules of Professional Conduct 1.16(b)(5) based upon Defendants’ failure to honor
  12   the obligations under the Attorney Fee Agreement.
  13   III.   ARGUMENT
  14          A.    The Ecoff Firm Should Be Permitted to Withdraw Because
  15                Defendants Failed to Comply with the Financial Obligations
  16          The California Rules of Professional Conduct permit attorneys to withdraw if
  17   “the client breaches a material term of an agreement with, or obligation to, the
  18   lawyer relating to the representation, and the lawyer has given the client a
  19   reasonable warning after the breach that the lawyer will withdraw unless the client
  20   fulfills the agreement or performs the obligation.” California Rules of Professional
  21   Conduct 1.16(b)(5).
  22          The courts in the Central District have found that a client’s breach of
  23   financial obligations to the firm constitutes “good cause” for withdrawal of
  24   representation. The Wimbeldon Fund, (Class TT) v. Graybox, LLC, 2018 WL
  25   3323874, *2 (C.D. Cal. 2018) (“BMK's assertions regarding the failure of Bergstein
  26   and Graybox to pay their legal fees, supported by Bisconti's declaration, are
  27   sufficient to establish good cause.”); Freyr Holdings, LLC v. Legacy Life Advisors,
  28   LLC, 2014 WL 12735017, *2 (C.D. Cal. 2014) (“Under § 3-700(C)(1)(f) of the
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   1   California Rules of Professional Conduct, a client's breach of a fee agreement is a
   2   sufficient ground to permit an attorney to withdraw.”); Garnica v. Fremont Inv. &
   3   Loan, 12–cv–1366– DOC, 2012 WL 5830078, *1 (C.D. Cal. Nov. 14, 2012)
   4   (granting counsel for plaintiffs' motion to withdraw, based in part on the attorney's
   5   uncontested declaration that “[p]laintiffs had failed to pay an outstanding balance on
   6   the retainer agreement, as well as fees”).
   7          Here, the Ecoff Firm has repeatedly warned Defendants that unless
   8   Defendants complied with their financial obligation under the retainer agreement,
   9   the Ecoff Firm would be required to move to withdraw as counsel of record.
  10   Defendants refused to comply, requiring the Ecoff Firm to bring this motion.
  11          B.        Withdrawal Will Not Prejudice the Litigants, Harm the
  12                    Administration of Justice or Delay the Case
  13          Withdrawal would neither unreasonably prejudice Defendants’ rights nor
  14   delay the resolution of this case because Defendants have had and will have
  15   sufficient time to hire new counsel. The trial in this matter is set for June 20, 2023.
  16   This provides Defendants with sufficient time to obtain new representation. See
  17   McNally v. Commonwealth Fin. Sys., Inc., No. 12-CV-2770-IEG MDD, 2013 WL
  18   685364, at *1 (S.D. Cal. Feb. 25, 2013) (granting the corporate defendant’s
  19   counsel’s withdrawal the corporate defendant had ample opportunity to retain
  20   substitute counsel as needed).
  21          In addition, the Ecoff Firm has actively prepared this matter for trial such that
  22   new counsel can easily substitute in this matter and be prepared for a June 20, 2023
  23   trial. (Ecoff Decl., ¶ 6). The Ecoff Firm participated in the Rule 26(f) meeting of
  24   counsel, prepared and served Defendants’ Initial Disclosure Pursuant to Rule
  25   26(a)(1), represented Defendants at Mediation, and served written discovery on
  26   Plaintiff. Id.
  27          Moreover, the Ecoff Firm warned Defendants that it would be seeking to
  28   withdraw and that Defendants should locate new counsel. Despite such warning,
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   1   Defendants did not obtain new counsel. The fact that Defendants have not obtained
   2   new counsel is not grounds to deny the withdrawal. Stewart v. Boeing Co., 2013
   3   WL 3168269, *1, *2 (C.D. Cal. 2013) (permitting unpaid attorney to withdraw even
   4   though no substitute counsel had been retained, and stating, “The failure of a client
   5   to pay attorney’s fees provides a sufficient basis on which to grant a request to
   6   withdraw from representation.”).
   7         C.     Proper Notice Was Given To All Litigants
   8         Pursuant to Local Rule 83-2.3.2, on January 17, 2023, the Ecoff Firm
   9   provided Defendants with written of the intent to bring a motion to withdraw.
  10   (Ecoff Decl., ¶ 7, Exhibit 1). In compliance with Local Rule 83-2.3.4, the Ecoff
  11   Firm further informed Defendant Harvest King that it cannot represent itself in this
  12   action and would need to retain new counsel.
  13         Finally, on January 19, 2023, written notice was provided to Plaintiff’s
  14   counsel, K. Tom Kohan, by email of the Ecoff Firm’s intention to bring a motion to
  15   withdraw. (Ecoff Decl., ¶ 8, Exhibit 2).
  16   IV.   CONCLUSION
  17         For the foregoing reasons, the Ecoff Firm respectfully requests that the Court
  18   grant the Motion to Withdraw as counsel for Defendants Harvest King Trading USA
  19   Limited, Thomas Jau and Pak Lam.
  20

  21   Dated: January 20, 2023                    ECOFF CAMPAIN TILLES & KAY, LLP
  22

  23                                        By:         /s/ Lawrence C. Ecoff
                                                  LAWRENCE C. ECOFF, ESQ.
  24
                                                  Attorneys for Defendants
  25                                              HARVEST KING TRADING USA,
                                                  LIMITED, THOMAS JAU and
  26                                              PAK LAM
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